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                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

    In re:                                                  Chapter 11

    LORDSTOWN MOTORS CORP., et al.,1                         Case No. 23-10831 (MFW)

                                                             (Jointly Administered)
             Debtors.
                                                            Related Docket No. 977

    CERTIFICATE OF NO OBJECTION REGARDING SECOND INTERIM FEE
APPLICATION OF HURON CONSULTING GROUP INC., FINANCIAL ADVISOR TO
 THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS, FOR ALLOWANCE
  OF COMPENSATION FOR SERVICES RENDERED AND REIMBURSEMENT OF
 EXPENSES FOR THE PERIOD OCTOBER 1, 2023 THROUGH DECEMBER 31, 2023

                   On February 14, 2024, the undersigned counsel filed on behalf of Huron

Consulting Services LLC (“Huron”) the Second Interim Fee Application of Huron Consulting

Group Inc., Financial Advisor to the Official Committee of Unsecured Creditors, for Allowance

of Compensation for Services Rendered and Reimbursement of Expenses for the Period

October 1, 2023 Through December 31, 2023 [Docket No. 977] (the “Application”). The notice

attached to the Application established a deadline of March 5, 2024, at 4:00 p.m. (Eastern Time)

for filing and serving objections or responses to the Application.

                   The undersigned hereby certifies that she has received no formal or informal

objection or response to the Application. The undersigned further certifies that she has reviewed

the docket in these cases and that no objection or response to the Application appears thereon.




1
      The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
      Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
      address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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             WHEREFORE, the undersigned respectfully requests that the Application be
approved.

Dated: March 7, 2024               Respectfully submitted,
Wilmington, Delaware
                                   TROUTMAN PEPPER HAMILTON SANDERS LLP

                                   /s/ Tori L. Remington
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                                   Counsel to the Official Committee of Unsecured
                                   Creditors


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